30 F.3d 128
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Bryant D. BAGLEY, Petitioner Appellant,v.Earl D. BESHEARS;  Attorney General Of the State ofMaryland, Respondents Appellees.
    No. 94-6453.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 23, 1994.Decided July 22, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  M.J. Garbis, District Judge.  (CA-93-3941-MJG)
      Bryant D. Bagley, appellant pro se.
      D.Md.
      DISMISSED.
      Before MURNAGHAN and WILKINS, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order referring this matter to a magistrate judge.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This Court may exercise jurisdiction only over final orders, 28 U.S.C. Sec. 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. Sec. 1292 (1988);  Fed.R.Civ.P. 54(b);   Cohen v. Beneficial Indus.  Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We deny a certificate of probable cause to appeal and dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      3
      DISMISSED.
    
    